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A 0 2458 (Rev 06105) Sheet 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                 MIDDLE DISTRlCT OF FLORIDA
                                                      TAMPA DMSION



UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                                               CASE NUMBER: 8~06-cr-349-T-30MAP
                                                               USM NUMBER: 48887-0 1 8
VS   .
MARQUIS DARGON
                                                               Defendant's Attorney: Srephen Crawford, cja

THE DEFENDANT:

X pleaded guilty to countls) ONE of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the c o w .
- was found guilcy on counrls) after a plea of not guilty.
TITLE & SECTION                     NATURE OF OFFENSE                             OFFENSE ENDED                      COUNT

                                    Conspiracy to Possess With Intent to      March 8, 2006                           One
                                    Distribute and to Distribute five Hundred
                                    (500) Grams or More of Cocaine


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence I % mposed pursuant ro the
Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
-Count(s) (is)(are)dismissed on the motion of the United States.
IT IS FURTHER ORDERED that the defendaut must notify ihe Unired States Attorney for rhts d~suictwithin 30 days of any change
of name,residence, or mailingaddress until all i k s , restitution. costs, and special assessments imposed by thisjudgment are fully paid.
If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.

                                                                                  Dare of Imposition of Sentence: May 8. ZOOS




                                                                                  DATE: May        8    .2W8
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Defendant:         MARQUIS DARGON                                                                         Judgment - Page 2 of 6
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        Mter considering the advisory sentencing guidelines and all of the factors identified in Title 18 U.S.C . $8
3553(a)(l)-(7, the court finds that the sentence imposed k suff~cient,but not greater than necessary, to comply with
the statutory purposes of sentencing.


        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of TWO FIWDRED and TEN (210) MONTHS as to Count One of the Indictment.



-
X The court makes the following recommendations to the Bureau of Prisons: The defendant shall be placed at FCI Coleman
(FL). The defendant shall participate inthe 500 hour intensive drug treatment program while incarcerated. The defendant shall
have a mend evaluation performed and mental health counseling if necessary while incarcerated.



-
X The defendant is remanded to the mrody of the United Swes Marshal.
-The defendant shall smmdet to the United Scatales Marshal for this district
      -at -a.m.lp.m. on -.
      -as ROW         by the United States Marshal.
-The dekndant shalI surrender lor service of seotence at &e insntution d e s i w t d by the Bureau of Prisons.
          before 2 p.m. m-.
         -
         -asas notified by the United States Marshal.
               notified by h Probation or Pretrial Services Office.




          1 have executed this judgment as follows:




          Defendam delivered on                                                 to

- at                                                                           . wirh a certified copy of this judgment.


                                                                                        United States Marshal

                                                                      By:
                                                                                        Depury United States Marshal
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A 0 245B (Rev. 06/05) Street 3 - Supervised Release (Judgment io a Crimioal Case)

Defendant:          MARQUIS DARGON                                                                                  Judgment - Page 3 of 6
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                                                           SUPERVISED RELEASE

     Upon re1c;w from imprisonment, the defendant shaU be on supervised release for a term of EIGHT (8)
YEARS as t o Count One of the Indictment.




           If this judgment imposes a fine or restitution it is a condition of supervised re1ease th ac he de fe nda nl pay in accordance with
           the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           condiuons on h e attached page.
                                             STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial diseict without thepmnission of the court or probation officer:

           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
           month;

           the derendanl s1):rtl answer tru~llfullydl i n q u i r k Ily 111cprobatioi~oficerand follow thc instruclions of 11ic prolmion ofticcr:

           the defendant shall support his or her dependents and meet other family responsibilities:

           the defendant shdl work regularly at a taw€ul occupation, unless excuscd by the probation officer for schooling, training, or other
           acceptable reasons:

           111edefendant shall notify the probanon officer at least ten days prior to any change in rcsidcnce or empluylncr~~;

           the defendant shdl refrain Erom excessiveuse of alcohol and shall not purchase. possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any contdlcd substances.         as prescribed by a physician;

           I h e defendant shall not frequent places where controlled substances are illegally sold. u red. di SIri bu [ed. or administered;


           the defendant shall not associate with any persons engaged m cnm~ndact~vityand shal l I I O ~:~soclnlewith my person convicted of a
           felony, unless granted permission to do so by the probation officer;

           the defendant shall permit a probation officer to visit him or ha at any time at home or elsewhere and shdl permit confiscation of any
           contraband observed in plain view of the probation offica:

           the defendant shall notify the probation officer within seventy-two hours of being arrestcd irr queslioned by a law enforcement o€fica.

           the defendant shall not enter into any agreement to act as an informer or a special agcnt of a la\\, en forcernur~tagcncy without rhe
           petmission of the court; and

           as directed by thc probation officcr. the defendant shall notify third parties of risks that may be occasioned by thc defendant's criminal record
           or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the dcfcndant's
           compliance with such notification requirement.
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                               -
A 0 245B (Rev. 06/05}Sheet 3C Supervised Release (Judgment in a Criminal Case)

Defendant:        MARQUIS DARGON                                                                      Judg~uent- Page 4 of 6
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                                       SPECWL. CONDITIONS OF SUPERVISION

         The defcndanl shall also comply with the following additional conditions of supervised release:

         Defendant shall participate in a program (outpatient andtor inpatient) for treatmentof narcotic addiction or drug or alcohol
         dependency and follow the probation officer's insmctions regarding the implementation of this court directive. Further. the
         defendant shall be required to contribute to the costs of services for such treatment not to exceed an amount determined
         reasonable by the Probation Officer based on ability to pay or availability of third party payment and in conformance with
         the Probation Office's Sliding Scale for Substance Abuse Treatment Services. Upon completion of a drug or alcohol
         dependency treatment program the defendant is direc~edto submit to testing for the detection of substance use or abusenot
         to exceed 104 test per year.
         The defendant shall cooperate in the collection of DNA as directed by the proharion officer.
-
X       The mandatory drug tesdng provisions shall apply pursuant to the Violent Crmc Con Irol Act. The Court authorizes random
        drug testing not to ex& 109 tests per year.
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A 0 245B (Rev 06/05] Sheet 5 - C r h b d M o ~ ~ l a rPenalties
                                                       y        (Judgment in a Criminal Case)
Defendant:          MARQUIS DARGON                                                                      Judgment - Page 5 of L
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                                            CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of pay menrs on Sheer 6
                             Assessment                                                         Total Restitution

          Totals:


          Tbe determination of restitution is deferred until -. An Amended Judgment in a Criminal Case (A0 245C) will
          be entered after such deterrmnation.
          The defendant must make restitution (includmg communny resalmon) to the foliowiag payees in che amount hsted
          below.


                                                                           =
          Lf the detendanr y k e s a partial payment, each payee shail receive an approximately proportioned payment, unless
          spec@d othemse in the, priority order orpercentage pa ac column below. However, pursuant to 18 U.S.C. 8
          3664411. all mn-federal nmm must be pad before tbe               States.


N a m e of Pavee                                 Total Loss*                                                    Priority or P e r c e n h ~ e




                             Totals:

          Restitution amount ordered pursuanr to plea agreemem %
          The defendant must pay interest on a h e or restitution of more than $2,500, unless the restitution or fine is paid in full
          before the fifteenth day after the date of the judgment, ursuant to 18 U.S.C. # 3612(f). All of the payment opttons on Sheet
          6 may be subject to penalties for delinquency and d e b t . pursuant to 18 U.S.C. ( 3612(g).
          The court determined thar the defendant does not have the ability to pay herest and it is ordered that:
                    ~ h cinterest requirement i s waived for rhe - fine        - restitution.
                    the imerest requirement for the - h e                 restitution is mmed    as follows:


* Findings for the total amount of losses are required under Chapters 109A, 1 10, 1 10A, a n d I 13A o f Title 18 for h e of(enses commitred
o n or after September 13, 1994, but before A p d 23, 19%.
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A 0 2458 (Rev 06/05) Sheet 6 - ScheduIe of Payments (Judgmen~ in a Cri nlinal Case)

Defendant:         MARQUIS DARGON                                                                 Judgment - Page        of 6
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                                                   SCHEDULE O F PAYMENTS



Having assessed the defendant's abilicy ro pay, payment of the (oral criminal rnonerary penalries are due as follows:

A.       X
         - Lump sum payment of $ 100.00 due immediately, balance due
                             -not later than                     ,   or
                             -in accordance              C. - D. -           E or - F below; or
                   Payment to begin immediately (may be combined with -C, - D , or -F below); or
                   Payment in equal                 (e-g., weekIy, monthly. quarterly) installments of $            over a
                   period of           e-g., months or years), to commence             days (e-g., 30 or 60 days) after the
                   dare of this judgmekt: or
                   Payment in equal                      (e.g., weekly, monthly, quarterly) installments of $                 over a
                   period of
                                , (e.g., months or years) to commence                             (e .g. 30 or 60 days) after release
                   horn imprisonment to a term of supervision; or
                   Payment during the term of supervised release will commence within                          (e.g.. 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time, or
                   Special irlstructions regarding the payment of criminal monetary penalties:




Unless the cowt has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
   nalties is due dlrting qrisonment. All criminal monetary penalties, except those pa ents made through the Federal
f k e s u of Prisons' Inmate Financial Responsibility Program, are made to the clerk of Ecourt.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
         Joint and Several
         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Seve ral Amount, and corresponding payee, if appropriate:


         The defendant shall pay the cost of prosecution.
         The defendant shaIl pay the following court cost(s):
-      The defendant shall forfeit the defendant's interest in the following property to h e United States
       The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof, subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees.
Paymem shall be applied in the following order: (1)assessment, (2)restitution principal, (3) mumtion interest, (4) fine principal.
(5) fine interest, (6) community restitution, (7)penalties. and (8) costs, hluding cost of prosecution and court costs.
